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                                                                         i-wam-:ah d\v.
                      UNITED STATES DISTRICT COURT
                 FOR THE SOUTHERN DISTRICT OF GEORGIA                                    AHIMSS
                             SAVANNAH DIVISION
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                                                                         c-n   n'.


UNITED STATES OF AMERICA


V.                                           INDICTMENT NUMBER
                                             4:18-cr-00147-LGW-GRS
HERMAN F. WILLIAMS,

        Defendant.


                         IN RE: LEAVE OF ABSENCE


        Application for Leave of Absence has been requested by Thomas A. Withers

for the period of Tuesday, July 2, 2019, through and including Sunday, July 7, 2019,

and Thursday, August 22, 2019 through and including Friday, August 23, 2019, in

the above captioned case.

        The above and foregoing request for Leave of Absence is GRANTED. Mr.

Withers is provided Leave of Court from Tuesday, July 2, 2019, through and

including Sunday, July 7, 2019, and Thursday, August 22, 2019 through and

including Friday, August 23, 2019.

        SO ORDERED, this the (^^day of A^rl/ 2019.
                                 UDGE
                     A/sidh-^f-^JUDGE                          f
                                UNITED STATES DISTRICT COURT FOR
                                THE SOUTHERN DISTRICT OF GEORGIA
